The appellant was charged by complaint in the city court of the city of Phoenix with driving or operating an automobile in and upon the streets of Phoenix while under the influence of intoxicating liquor. From a conviction and sentence he appealed to the superior court of Maricopa county, where he was tried denovo and again convicted. From such conviction and the sentence imposed he has appealed.
He asserts that the city court and the superior court on appeal from the city court were without jurisdiction of the offense charged.
Since the trial below and since this appeal was taken we have held that the offense charged, is exclusively within the jurisdiction of the superior court. Clayton v. State,38 Ariz. 135, 297 P. 1037, on rehearing 38 Ariz. 466,300 P. 1010.
On the authority of the Clayton case, the judgment of conviction is reversed and the cause remanded, with directions that the complaint be dismissed. *Page 60 